Exhibit 5

USWGO
QANON // DRAIN THE SWAMP

 

MARTINSVILLE CIRCUIT COURT — CRIMINAL CASE NO. CR19000009-00

Exhibit in attachment to “SECOND NOTICE OF FRAUD UPON THE COURT”

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- TRANSMISSION VERIFICATION. REPORT

 

 

 

TIME : 05/15/2019 86:11PM
NAME : KEN FORT

: STELLA
FAX =: 2766322599
SER.# : U6909831F926116

 

 

DATE. TIME 05/15 66:09PM
FAX NO. /NAME 2766668929
DURATION Q0: 81:62
PAGE (S)
RESULT OK
MODE PHOTO

ECM

 

 

May 15, 2019
Office of the Public Defender
‘O East Main Street // P.O. Drawer 31 _
Martinsville, Virginia 24112//24114 CT 3136
hone: 276-666-2206 // Fax: 276-666-8929
ear Scott Albrecht,

tihave been released on Federal Bond since yesterday on Tuesday.

The Federat Court will hold any proceedings for the Supervised Release Violation
intil the final disposition. of this State charge.

e stress and anxiety of waiting is affecting my health and this case needs to be
esolved As.Soon As Possible.

rather not ask to reschedule the Circuit Court trial Pro Se since | had been
leased. Please schedule the Trial to early June this year.

would like to be scheduled the Triaf in early June if possible, any day in June
nstead of July, 2019. | am ready to bring up the carbon monoxide poisoning

port and the evidence that | had filed while | was at FCI-1 Butner. i had originally
told you that | thought | was drugged. This year new evidence came to my
lttention and was discovered in late January carbon monoxide was present in my
| partment and was witnessed by Roberta Hill, the expert who found evidence of
carbon monoxide damage, and even my Probation Officer Jason MciViurray saw
the damage of the carbon monoxide cause and effect. it can cause me not to

think straight which would also help explain how [ was just naked, not aroused,
Case 1:13-cr-00435-TDS Document 267-6 Filed 11/10/20 Page 2 of3

 
May 15, 2019

 

Office of the Public Defender

10 East Main Street // P.O. Drawer 31 .
artinsville, Virginia 24112//24114 CTS 3136

Phone: 276-666-2206 // Fax: 276-666-8929

Dear Scott Albrecht,

The Federal Court will hold any proceedings for the Supervised Release Violation

Ihave been released.on Federal Bond since yesterday on Tuesday.
I the final disposition of this State charge.

u

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carbon. monoxide damage, and even my Probation Officer Jason McMurray saw
the damage of the carbon monoxide cause and effect. It can cause me not to
think straight which would also help. explain how | was just naked, not aroused,
just doing something out of the blue that was bazaar. Not having a history of it.
varbon monoxide may have even been caused by the guy in the hoodie as the
ne greeting card my mother received mentioning about “not be good feeling
i stating that my mother was not feeling. good getting sick as if a calling card
r the carbon monoxide making us sick and tired.

| filed the evidence of carbon monoxide with the Clerk while at FCI Butner. So not
only was | not aroused, | was sick from carbon monoxide exposure in my home.

Sincerely,

Brian D. Hill // 310 Forest Street, Apartment 2, Martinsville VA 24112 276-790-3505

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